              Case 16-17789                 Doc      Filed 05/05/20         Entered 05/05/20 15:14:41                          Desc Main
 Fill in this information to identify the case:          Document           Page 1 of 5

 Debtor 1               Ronald Maloney
                       __________________________________________________________________

 Debtor 2                Pamela Maloney
                        ________________________________________________________________
 (Spouse, if filing)

                                         Northern
 United States Bankruptcy Court for the: ______________________              IL
                                                                District of __________
                                                                             (State)
 Case number            16-17789
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association, as
                   Trustee of the Igloo Series III Trust
 Name of creditor: _______________________________________                                                           4
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                           7562____ ____ ____
                                                         ____                            Must be at least 21 days after date       06   01   2020
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          1,816.41
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             777.66
                   Current escrow payment: $ _______________                           New escrow payment:           770.65
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
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Debtor 1          Ronald Maloney
                 _______________________________________________________                                               16-17789
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle R. Ghidotti-Gonsalves
     Signature
                                                                                                Date     5     5 2020
                                                                                                        ____/_____/________




 Print:             Michelle R. Ghidotti-Gonsalves
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger, LLP
                    _________________________________________________________



 Address            1920 Old Tustin Ave
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            mghidotti@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
                                                                                                                                PAGE 1 OF 2
                Case 16-17789            Doc       Filed 05/05/20          Entered 05/05/20 15:14:41 Desc Main
                                                       Document            Page 3 of 5         Annual Escrow Account
                                                                                                Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354
  1-800-327-7861
  https://myloanweb.com/BSI                                                      1461967562_ESCROWDISCSTMT_200428

                                                                                        DATE: 04/28/20


              RONALD J MALONEY                                                         PROPERTY ADDRESS
              8507 RADCLIFFE RD                                                        8507 RADCLIFFE ROAD
              TINLEY PARK, IL 60487                                                    TINLEY PARK, IL 60487



PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 06/01/2020
THROUGH 05/31/2021.
            -------- ANTICIPATED PAYMENTS FROM ESCROW 06/01/2020 TO 05/31/2021 ---------
COUNTY TAX                                                     $9,247.84
TOTAL PAYMENTS FROM ESCROW                                     $9,247.84
MONTHLY PAYMENT TO ESCROW                                         $770.65
          ------ ANTICIPATED ESCROW ACTIVITY 06/01/2020 TO 05/31/2021 ---------
                   ANTICIPATED PAYMENTS                                                              ESCROW BALANCE COMPARISON
MONTH         TO ESCROW              FROM ESCROW                  DESCRIPTION                 ANTICIPATED                   REQUIRED

                                                          STARTING BALANCE -->                $3,262.51                    $2,687.04
JUN               $770.65                                                                     $4,033.16                    $3,457.69
JUL               $770.65                                                                     $4,803.81                    $4,228.34
AUG               $770.65                 $4,228.34 COUNTY TAX                           L1-> $1,346.12               L2->   $770.65
SEP               $770.65                                                                     $2,116.77                    $1,541.30
OCT               $770.65                                                                     $2,887.42                    $2,311.95
NOV               $770.65                                                                     $3,658.07                    $3,082.60
DEC               $770.65                                                                     $4,428.72                    $3,853.25
JAN               $770.65                                                                     $5,199.37                    $4,623.90
FEB               $770.65                                                                     $5,970.02                    $5,394.55
MAR               $770.65                 $5,019.50 COUNTY TAX                                $1,721.17                    $1,145.70
APR               $770.65                                                                     $2,491.82                    $1,916.35
MAY               $770.65                                                                     $3,262.47                    $2,687.00
               --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
IF THE ANTICIPATED LOW POINT BALANCE (L1) IS GREATER THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
ESCROW SURPLUS. YOUR ESCROW SURPLUS IS $575.47.
                                              CALCULATION OF YOUR NEW PAYMENT
PRIN & INTEREST                                                                          $1,045.76
ESCROW PAYMENT                                                                             $770.65
NEW PAYMENT EFFECTIVE 06/01/2020                                                         $1,816.41
YOUR ESCROW CUSHION FOR THIS CYCLE IS $770.65.




                                        ********** Continued on reverse side ************




             Our records indicate that you have filed for Bankruptcy protection. As a result of your
             Bankruptcy filing, escrow account deficiencies prior to your filing date have been removed
             from calculation of your analysis, and they are now reflected as amounts due within your
             pre-petition arrearage. This Escrow Analysis Statement was prepared under the
             assumption that all escrow payments have been made in the amount required each
             month. The surplus funds indicated above are not an accurate reflection of your escrow
             account because no surplus funds will exist until all amounts are received towards your
             pre-petition arrearage.




Licensed as Servis One, Inc. dba BSI Financial Services. BSI Financial Services NMLS# 38078. Colorado Office Location: 7200 S. Alton Way, Ste.
B180, Centennial, CO 80112 (303) 309-3839. Licensed as a Debt Collection Agency by the New York City Department of Consumer Affairs, (#
2001485-DCA). North Carolina Collection Agency Permit (# 105608).
                                                                                                                                                                                                  PAGE 2 OF 2
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                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 06/01/2019 AND ENDING 05/31/2020. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.

   YOUR PAYMENT BREAKDOWN AS OF 06/01/2019 IS:
   PRIN & INTEREST                                                                                                                      $1,045.76
   ESCROW PAYMENT                                                                                                                         $777.66
   BORROWER PAYMENT                                                                                                                     $1,823.42
                       PAYMENTS TO ESCROW                                       PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                     ACTUAL                     DESCRIPTION                  PRIOR PROJECTED                     ACTUAL
                                                                                                                                  STARTING BALANCE                          $2,878.63                  $20,968.91-
   JUN               $777.66                   $1,418.20           *                                                                                                        $3,656.29                  $19,550.71-
   JUL               $777.66                   $2,034.33           *                                       $4,228.34 * COUNTY TAX                                           $4,433.95              A-> $21,744.72-
   AUG               $777.66                       $0.00           *           $4,433.95                               COUNTY TAX                                  T->        $777.66                  $21,744.72-
   SEP               $777.66                   $1,418.20           *                                                                                                        $1,555.32                  $20,326.52-
   OCT               $777.66                   $1,378.46           *                                                                                                        $2,332.98                  $18,948.06-
   NOV               $777.66                   $4,863.76           *                                                                                                        $3,110.64                  $14,084.30-
   DEC               $777.66                   $1,368.23           *                                                                                                        $3,888.30                  $12,716.07-
   JAN               $777.66                   $2,214.45           *                                                                                                        $4,665.96                  $10,501.62-
   FEB               $777.66                     $659.13           *                                       $5,019.50 * COUNTY TAX                                           $5,443.62                  $14,861.99-
   MAR               $777.66                       $0.00           *           $4,898.02                               COUNTY TAX                                           $1,323.26                  $14,861.99-
   APR               $777.66                   $2,992.11           *                                                                                                        $2,100.92                  $11,869.88-
   MAY               $777.66
                  __________                       $0.00
                                              __________                     __________                   __________                                                        $2,878.58                  $11,869.88-
                    $9,331.92                 $18,346.87                       $9,331.97                   $9,247.84


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.

   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $777.66. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $21,744.72-.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

  Determining your Shortage or Surplus
  Shortage:
   .
  Any shortage in your escrow account is usually caused by one the following items:
   . An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
   . A projected increase in taxes for the upcoming year.
     The number of months elapsed from the time of these disbursements to the new payment effective date.
  Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
  shortage can be paid either partially or in full.
  Surplus:
   .
  A surplus in your escrow account is usually caused by one the following items:
   .  The insurance/taxes paid during the past year were lower than projected.
   .  A refund was received from the taxing authority or insurance carrier.
      Additional funds were applied to your escrow account.
  If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
  run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
  your escrow account.




If you have filed a bankruptcy petition and there is either an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we
may not and do not intend to pursue collection of that obligation from you personally. If these circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally.
Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired
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                                                the Court’s ECF program:
